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11
12                     UNITED STATES DISTRICT COURT
13                    CENTRAL DISTRICT OF CALIFORNIA
14
15                                           Case No. 2:23-cv-10485-SVW-MRW
16    SUE SHIN, on behalf of herself, all
      others similarly situated, and the general MEMORANDUM OF POINTS AND
17    public                                     AUTHORITIES IN SUPPORT OF
18                                               DEFENDANTS SANYO FOODS
             Plaintiffs,                         CORPORATION OF AMERICA
19                                               AND TAKEO SATO’S MOTION TO
20    v.                                         DISMISS
21    SANYO FOODS CORP. OF          Concurrently filed with:
22    AMERICA, TAKEO SATO, and DOES 1. Notice of Motion;
      1 through 10,                 2. Declaration of A. Song;
23                                  3. Request for Judicial Notice;
24          Defendants.             4. [Proposed] Order
25                                           Date: March 18, 2024
26                                           Time: 1:30 p.m.
                                             Dept.: 10A
27
28

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 1                    MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.         INTRODUCTION
 3            Sanyo Foods Corporation of America (“Sanyo”) manufactures and sells Sapporo
 4 Ichiban packaged noodle products (“Products”). In compliance with Food and Drug
 5 Administration’s (“FDA”) regulations, the Products’ nutrition label accurately reflects
 6 that the Products contain 0 grams of trans fat. The same, accurate “0g Trans Fat”
 7 representation is made on the front of the Products’ labeling.
 8            Despite the Products’ compliant labeling, Plaintiff Sue Shin (“Plaintiff”) brought
 9 a false advertising lawsuit in Los Angeles County Superior Court on August 17, 2022,
10 as an individual action. That action has been, and remains pending, in that court. After
11 extensive discovery and 16 months of litigation, Plaintiff moved to amend her
12 complaint to convert it into a putative class action. The superior court rightfully denied
13 that motion. Immediately thereafter, Plaintiff filed the instant putative class action
14 (“Complaint”), based on the identical products, labeling, and causes of action.
15            Here, as in the individual action, Plaintiff alleges the “0g Trans Fat” labeling is
16 misleading because, she surmises, there exist certain studies that opine refined oils
17 present in food products contain trace amounts of trans fat. However, these sources do
18 not discuss, or even name, any ingredient present in the Products that would be relevant.
19 Even more egregious, Plaintiff has not tested the Products, but rather asserts that she
20 need not test them in order to allege that they must contain trans fat and therefore, the
21 labeling must be misleading. Plaintiff’s Complaint simply lacks the requisite foundation
22 for injury or plausibility, and asks the Court to make too many inferential leaps.
23            Plaintiff’s remaining causes of action are subject to dismissal on the same basis,
24 in addition to other reasons, including but not limited to the expiration of the relevant
25 statute of limitations, failure to meet the heightened pleading requirements of
26 Federal Rule 9(b), lack of privity, and doctrine of preemption – defects that cannot be
27 cured by any amendment.
28            Furthermore, given that the individual action in state court and this present action
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 1 are sufficiently parallel and duplicative, the Court should dismiss (or stay) the present
 2 matter pursuant to the United States Supreme Court’s Colorado River doctrine. Doing
 3 so would conserve judicial resources and discourage Plaintiff’s gamesmanship in the
 4 two matters.
 5            For the reasons discussed herein, Plaintiff’s Complaint should be dismissed in
 6 full, with prejudice.
 7 II.        PLAINTIFF’S ALLEGATIONS
 8            Sanyo is a manufacturer and distributer of Sapporo Ichiban packaged noodle
 9 products. ECF 1-1, Compl. (“Compl.”), ¶ 2. In compliance with federal law, the
10 nutritional facts label on the back of the Products’ package states that they contain 0
11 grams of trans fat. Id. ¶ 5. The Products also contain a statement on the front of the
12 package of “0g Trans Fat.” Id. ¶ 3.
13            Plaintiff alleges that “[s]ince August of 2018, she saw the label of Sapporo
14 Ichiban Miso Ramen sold in grocery stores in Los Angeles, California, including
15 Mitsuwa Marketplace.” Id. ¶ 15. Multiple paragraphs later, Plaintiff states that “[d]uring
16 the time period from August 2018 to December of 2019, Plaintiff purchased Sapporo
17 Ichiban Miso Ramen” without providing any further detail on where she allegedly made
18 this purchase and on how many occasions. Id. ¶ 38. Plaintiff alleges she “read and
19 relied” on the “0g Trans Fat” labeling on “the Products” (again without alleging where,
20 when, or on which product(s)) and that she would not have purchased “the Product”
21 “absent the misrepresentation on the front label.” Id. ¶¶ 46, 48.
22            Plaintiff asserts the “0g Trans Fat” statement is misleading because the Products,
23 she believes, contain some unspecified trace amount of trans fat, because, she believes
24 “all refined edible oils contain some trans fat,” and “[t]he top four vegetable oils
25 consumed in the United States are soybean, canola, palm, and corn oil.” Id. ¶¶ 7, 33, 34.
26 Plaintiff also states that “small amount of trans fat are naturally present in milk and fat
27 of cow and sheep.” Id. ¶ 35. Rather than tying the above generalizations to any identified
28 ingredient in the Products, she lists all the ingredients in the Products. Id. ¶ 32.
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 1            Plaintiff alleges that “it was not until around December of 2019 when she first
 2 learned that the [Products] contain more than 0g but less than 0.5g of trans fat,” with no
 3 further allegations supporting how she first learned of this. Id. ¶ 38. Plaintiff also alleges
 4 that she “does not need to test herself that Sapporo Ichiban Miso Ramen she purchased
 5 contained trans fat.” Id. ¶ 34.
 6            Based on these allegations, Plaintiff argues broadly that “[a]ny commercial
 7 product with the claim ‘0g Trans Fat’ outside the Nutrition Facts Panel is considered
 8 misbranded.” Id. ¶ 6. Plaintiff also alleges that the Products violate 21 CFR § 101.13(h)
 9 and must include a disclosure statement stating, “See nutrient information for total fat,
10 saturated fat, and sodium contents.” Id. ¶ 63.
11            Plaintiff filed her Complaint on November 9, 2023, alleging: (1) violation of Cal.
12 Bus. & Prof. Code §17200 et seq. (“UCL”), Unlawful Conduct; (2) violation of UCL,
13 Unfair Conduct; (3) violation of Cal. Bus. & Prof. Code §17500 et seq., False
14 Advertising Law (“FAL”); (4) violation of Cal. Civil Code §1750 et seq., Consumer
15 Legal Remedies Act (“CLRA”); (5) unjust enrichment/breach of quasi contract; (6)
16 fraudulent misrepresentation; (7) negligent misrepresentation; (8) breach of express
17 warranty; (9) breach of implied warranty. See generally id. Plaintiff seeks public
18 injunctive relief, restitution, punitive damages, and attorneys’ fees and costs. Id.
19 III.       RELEVANT PROCEDURAL HISTORY
20            A.    Plaintiff’s Individual Action Pending in Los Angeles Superior Court
21            Before filing this present Complaint, Plaintiff Sue Shin filed a lawsuit on August
22 17, 2022 in Los Angeles County Superior Court on an individual basis, regarding the
23 same Products (the “State Action”). Request for Judicial Notice (“RJN”), Ex. A. The
24 State Action is based on the same set of facts and includes the same causes of action of
25 UCL, FAL, and CLRA as the present Complaint, seeking the same public injunctive
26 relief, restition, and attorney’s fees and costs. Compare Compl. with RJN, Ex. B.
27            Plaintiff filed this present Complaint after the presiding judge in the State Action
28 denied Plaintiff’s Motion for Leave to Amend to file her proposed second amended
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 1 complaint where Plaintiff attempted to convert the State Action into the putative class
 2 action. See RJN, Ex. A, C, D. The presiding judge in the State Action denied Plaintiff’s
 3 Motion for Leave to Amend, finding that “the proposed expansion of this litigation to a
 4 class action will result in prejudice to Defendant in the form of an expotential increase
 5 in the costs to defend this action.” See id., Ex. D. Following the ruling, Plaintiff filed
 6 the present Complaint (identical to her proposed second amended complaint) in Los
 7 Angeles County Superior Court as a separate action on November 9, 2023, effectively
 8 making this Plaintiff’s third chance at pleading. See id., Ex. A. Defendants timely
 9 removed the Complaint. See ECF 1.
10 IV.        LEGAL STANDARD
11            A party may file a motion to dismiss for lack of subject matter jurisdiction. Fed.
12 R. Civ. P. 12(b)(1). To satisfy Article III standing, a plaintiff must allege an injury in
13 fact that is concrete and particularized, as well as actual and imminent; (2) that the injury
14 is fairly traceable to the challenged action of the defendant; and (3) that it is likely (not
15 merely speculative) that the injury will be redressed by a favorable decision. Friends of
16 the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000).
17            To survive a motion to dismiss under Federal Rule 12(b)(6), a plaintiff is required
18 to allege “more than labels and conclusions, and a formulaic recitation of the elements
19 of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
20 A complaint should be dismissed if the facts as pleaded do not state a claim for relief
21 that is plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 663-64 (2009).
22 V.         LEGAL ARGUMENT
23            A.    Plaintiff Has Not Articulated An Injury for Article III Standing
24                  Purposes.
25            Plaintiff has not suffered an “injury in fact,” one that is concrete and
26 particularized, for Article III standing purposes. Plaintiff fails to satisfy this burden here
27 for three main reasons.
28            First, the presence of any trans fat in the Products is purely hypothetical. Plaintiff
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 1 concedes that she has not tested the Products for trans fat and insists she does not need
 2 to in order to know trans fat is present in the Products. Compl. ¶ 34. She baldly asserts
 3 that “the ingredients” used in the Products contain trans fat, then proceeds to list all the
 4 ingredients without identifying which, if any, allegedly contain trans fat. Id., ¶ 32.
 5            In the subsequent paragraphs, Plaintiff lists the top vegetable oils consumed and
 6 cites to the Federal Register for the proposition that “all refined edible oils contain some
 7 trans fat.” Id., ¶¶ 33-34. Based on the ingredient list, however, it is not specified whether
 8 the Products contain refined oil, as opposed to unrefined, for this source to be relevant
 9 to her allegations.1 Further, the section she cites to does not mention any ingredient in
10 the Products by name and is instead a section primarily focused on Partially
11 Hydrogenated Oils (“PHOs”), which is indisputably not an ingredient of the Products.
12 See id., ¶¶ 34.
13            Next, Plaintiff states that “milk and fat of cow and sheep[,]” “palm oil[,]” and
14 “corn oil” allegedly can contain small amounts of trans fat.2 Id., ¶ 35. Of these, the
15 reader must deduce independently, by process of elimination, that the only ingredient
16 potentially relevant to Plaintiff’s theory is palm oil. Plaintiff then cites two studies to
17 support her claim, which, ironically, actually state that palm oil contains “very little
18 amounts of trans fats (<1 percent)” — and in fact, a review of these two studies belies
19 Plaintiff’s entire claim as neither even mention palm oil, let alone state that palm oil
20 contains any trans fat. See id.; RJN Exs. E-F. What’s more, the study Plaintiff cites
21 from the Journal of Oil Palm Research deals specifically with refined, bleached, and
22 deodorized palm-based oils and fats obtained from refineries throughout Malaysia—
23
     1
24   Plaintiff alleges in the Complaint that the Products “contain[] refined palm oil and
   milk.” Compl. ¶ 65, 67. 93. However, a review of the list of the ingredients show this is
25
   demonstrably false. See id., ¶ 32. Milk is not listed on the ingredients list, nor can
26 Plaintiff establish that refined, versus unrefined, oil is present in the Products based on
   the ingredients list.
27
   2
     Plaintiff cites to numerous studies in the paragraph, but it is unclear which studies, if
28 any, support her allegations.
                                     5
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 1 none of which Plaintiff alleges is used as an ingredient in the Products. Id. For all these
 2 reasons, Plaintiff has failed to allege any actionable injury.
 3            Second, Plaintiff failed to adequately plead an injury because she does not plead
 4 one that is particularized to her. Plaintiff alleges that the Products contain trans fat (see,
 5 e.g., id., ¶¶ 7, 25, 32); however, she does not allege that she tested the Product she
 6 purchased, nor that any third party tested the Product. Indeed, it cannot be disputed that
 7 Plaintiff does not know whether the Miso Ramen she actually purchased contained any
 8 trans fat. See id., ¶¶ 34, 46-49. Plaintiff cannot rely on generalized allegations regarding
 9 the hypothetical presence of trans fat in packages of Products to assert a particularized
10 injury. See, e.g., Wilson v. ColourPop Cosms., LLC, 2023 WL 6787986, at *5 (N.D.
11 Cal. Sept. 7, 2023) (dismissing claims because plaintiff’s allegations were based only
12 on speculation); Gaminde v. Lang Pharma Nutrition, Inc., 2019 WL 1338724, at *2-3
13 (N.D.N.Y. Mar. 25, 2019) (same); Wallace v. ConAgra Foods, Inc., 747 F.3d 1025,
14 1030 (8th Cir. 2014) (to assert injury, “it ‘is not enough’ for a plaintiff ‘to allege that a
15 product line contains a defect or that a product is at risk for manifesting this defect;
16 rather, the plaintiffs must allege that their product actually exhibited the alleged
17 defect’”) (emphasis in original); Pels v. Keurig Dr. Pepper, Inc., 2019 WL 5813422, at
18 *4–5 (N.D. Cal. Nov. 7, 2019) (granting a motion to dismiss for lack of standing where
19 plaintiff did not allege that the specific bottle of water he purchased contained “violative
20 levels of arsenic”). Plaintiff’s generalized allegations regarding trans fat in the Products
21 are insufficient to confer standing for purposes of Article III.
22            Third, Plaintiff does not state a plausible injury from her allegation that the
23 Products require the disclosure statement under 21 CFR § 101.13(h). Plaintiff alleges
24 that she “would not have purchased Sapporo Ichiban Miso Ramen had Defendant
25 included on the front of the package the ‘See nutrition information for total fat, saturated
26 fat, and sodium contents’ disclosure.’” Compl. ¶ 63. However, the nutrition information
27 here reflects the same representation on the labeling that the Products contain 0 grams
28 trans fat. Id., ¶ 26. Plaintiff thus fails to allege a plausible injury as such disclosure
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 1 would not have revealed to Plaintiff any different information that would have affected
 2 her purchasing decision3.
 3            For these reasons, Plaintiff’s Complaint should be dismissed in its entirety for
 4 failure to sufficiently allege injury.
 5            B.    Plaintiff Fails to Plausibly Plead the Elements of Her Claims.
 6                  i.    Plaintiff Fails to Allege that the Labeling At Issue Is Likely To
 7                        Deceive a Reasonable Consumer.
 8            To state a claim under the UCL, CLRA, and FAL, Plaintiff must plausibly allege
 9 that Defendants’ statements are likely to deceive a reasonable consumer. See Freeman
10 v. Time, Inc., 68 F.3d 285, 289 (9th Cir. 1995). “Likely to deceive implies more than a
11 mere possibility that the advertisement might conceivably be misunderstood by some
12 few consumers viewing it in an unreasonable manner.” Lavie v. Procter & Gamble Co.,
13 105 Cal. App. 4th 496, 508 (2003). Where a court can conclude as a matter of law that
14 members of the public are not likely to be deceived by the product packaging, dismissal
15 is appropriate. See id.
16            Plaintiff’s argument that “[a]ny commercial product with the claim ‘0g Trans
17 Fat’ outside the Nutrition Facts Panel is considered misbranded[]” implies that all food
18 products must be free of microscopic traces of trans fat molecules — otherwise any “0g
19 Trans Fat” claim must be misleading. Compl. ¶ 6. However, no reasonable consumer
20 interprets “0g Trans Fat” in the way that Plaintiff suggests. Common sense supports that
21 a reasonable consumer does not interpret “0g” as promising the complete absence, down
22 to a microscopic level, of any molecule of the nutrient at issue. Indeed, for this very
23 reason, the FDA explicitly permits the nutrition facts label to state 0 g trans fat if a
24 product contains less than 0.5 gram trans fat. Id., ¶¶ 5, 42; see 21 CFR § 101.9(c)(2)(ii).
25 Reasonable consumers understand that commercially produced food may contain non-
26
27  It should go without saying, but there was nothing stopping Plaintiff from turning over
     3


   the package in the normal course; accordingly, failure to provide that instruction simply
28 cannot give rise to an injury or a plausible claim.
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 1 ingredient trace substances because manufacturers might use the same equipment to
 2 make different products, or that ingredients from other products made in the same
 3 facility may inadvertently intercross in small amounts. Indeed, the Products carry an
 4 optional allergen statement, alerting consumers that the Products may contain traces of
 5 “milk, eggs, fish, crustacean, tree nuts and peanut products.” See, e.g., Compl. ¶ 32.
 6 This statement alone should alert a reasonable consumer that it is not reasonable to
 7 expect that the nutrient content claims do not refer to purity at the microscopic level.
 8            Even assuming arguendo that the Products contain traces of trans fat molecules
 9 (which Defendants deny), no reasonable consumer would consider these amounts a
10 material concern. See, e.g., Algarin v. Maybelline, LLC, 300 F.R.D. 444, 453 (S.D. Cal.
11 2014) (actionable misrepresentation or omission under CLRA must be “material”). The
12 potential presence of microscopic amounts of trans fat that are not detectable via the
13 FDA-approved method for quantifying fats in food—and whose presence is thus purely
14 hypothetical—is not enough to be deemed “material” under California consumer
15 protection laws. See, e.g., Hawyuan Yu v. Dr Pepper Snapple Grp., Inc., 2019 WL
16 2515919, at *3 (N.D. Cal. June 18, 2019) (no reasonable consumer would understand
17 ‘All Natural Ingredients’ to mean the utter absence of residual pesticides); Parks v.
18 Ainsworth Pet Nutrition, 2020 WL 832863, at *1–2 (S.D.N.Y. Feb. 20, 2020) (the
19 “presence of negligible amounts of [a substance] in a dog food product that do[es] not
20 have harmful . . . effects is not likely to affect consumers’ decisions in purchasing the
21 product and is thus not material.”).
22            The reasonable understanding of “0g Trans Fat” is that there is no detectable
23 amount of trans fat. No reasonable consumer would demand that nutrition labeling be
24 based on analytical tests sensitive down to the molecular level, and Plaintiff does not
25 allege that she has conducted such a test and received a positive result for trans fat, nor
26 has she alleged that any such test even exists. Courts need not accept such a strained
27 and unreasonable reading of “0g Trans Fat.” See, e.g., Hill v. Roll Internat. Corp., 195
28 Cal. App. 4th 1295, 1301 (2011) (rejecting as unreasonable a plaintiff’s belief that an
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 1 image of a green droplet on a bottle of water indicated that the product had been
 2 endorsed for environmental superiority by a third party organization).
 3            For these reasons, Plaintiff’s CLRA, FAL, and UCL claims should be dismissed.
 4                  ii.   Reid and Hawkins Are Inapplicable.
 5            Plaintiff relies on Hawkins v. Kroger Co., 906 F.3d 763 (9th Cir. 2018) and
 6 Hawkins v. Kroger Co., 512 F.Supp.3d 1079 (S.D. Cal. 2021) in her Complaint. See
 7 ECF 1, Compl. ¶¶ 6, 27, 92-94. But the Hawkins cases cannot cure the Complaint’s
 8 defects. The Hawkins plaintiff claimed the use of Partially Hydrogenated Oils (“PHOs”)
 9 in Kroger’s breadcrumbs and “0g Trans Fat” label violated UCL, FAL, and CLRA.
10 Hawkins, 906 F.3d at 767. However, the FDA had issued a Final Determination that
11 declared PHOs, “which are the primary dietary source of industrially-produced trans
12 fatty acids (IP-TFA), [were] no longer generally recognized as safe (GRAS) for any use
13 in human food.” Hawkins, 906 F.3d at 767 n. 3 (emphasis added). Based on the FDA’s
14 determination, the court found that (1) “the nutrition label itself, which lists PHOs as an
15 ingredient, [was] actual evidence the ‘0g Trans Fat” label was false or misleading’; and
16 (2) “Kroger [did] not dispute the breadcrumbs contain some trans fat” as PHOs had
17 been intentionally added. Hawkins, 512 F. Supp. 3d at 1090. In contrast, Plaintiff here
18 does not plead that the Products contain any PHOs (they do not); Defendants do not
19 concede the Products contain any detectable trans fat; Plaintiff has not identified any
20 comparable ingredient, and even if one assumes Plaintiff means to indicate the palm oil
21 is problematic, the FDA has made no such finding regarding palm oil.
22            Plaintiff’s claims are also distinguishable from Reid v. Johnson & Johnson, 780
23 F. 3d 952 (9th Cir. 2015). See ECF 1, Compl. ¶¶ 6, 27-31, 37. The Reid case concerned
24 a “No Trans Fat” labeling for a vegetable oil-based spread that included PHOs. Id. at
25 957. The Reid court explained that a reasonable consumer could be misled based on
26 multiple FDA guidance letters that specifically stated that the claims of “No Trans Fat”
27 were “an unauthorized nutrient content claim ... which has not been defined by FDA.”
28 Id. at 956, 962. More specifically, the Reid court determined that, in the context of the
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 1 FDA’s regulations, the word “No” has no meaning beyond its ordinary, dictionary
 2 definition, i.e., “not any,” and “No” cannot be used to list trans fat content in the
 3 nutrition box. Id.
 4            Here, in contrast, “0g Trans Fat” is explicitly defined by the FDA. The FDA
 5 requires a “statement of the number of grams of trans fat in a serving,” unless the
 6 product “contain[s] less than 0.5 gram of total fat in a serving.” 21 C.F.R. §
 7 101.9(c)(2)(ii). The regulations further provide that “[i]f the serving contains less than
 8 0.5 gram [of trans fat], the content, when declared, shall be expressed as zero.” Id. Thus,
 9 in contrast to a “No Trans Fat” labeling, “0g Trans Fat” is explicitly defined as any
10 quantity less than 0.5 gram and is a rounded value which use in the nutrition box is
11 mandated by the FDA. The Products’ labeling simply mirrors this accurate information
12 on its nutrition box and is not misleading.
13                  iii.   Plaintiff’s UCL Claims Fail for Additional Reasons.
14            Plaintiff alleges that the “0g Trans Fat” labeling is misleading and deems the
15 Products misbranded, and that the Products violate 21 CFR §101.13(h) without a
16 disclosure statement, constituting UCL violations under the “unlawful” prong. Comp.
17 ¶¶ 92-24. However, Plaintiff’s argument fails as the claim must allege a predicate legal
18 violation. See Hawkins v. Kellogg Company, 224 F. Supp. 3d 1002, 1013 (S.D. Cal.
19 2016) (unlawful claims failed to extent they are premised on federal law). Here, the
20 Products are not misbranded as it accurately reflects 0 grams of trans fat, nor would
21 reasonable consumers be misled by the labeling. See Section V.B(i), supra. In addition,
22 any claims of 21 CFR §101.13(h) violations are preempted and cannot serve as the basis
23 for UCL claims. See Section V.C, infra.
24            Plaintiff’s “unfair” prong argument likewise fails. Plaintiff does nothing more
25 than recite the elements of the “unfair” prong without alleging how consumers do not
26 derive any benefit from the Products. See Compl. ¶ 97. Specifically, Plaintiff never
27 alleges that the Products do not function as intended nor that she has suffered any
28 specific ill-effects from the Products. See Elias v. Hewlett-Packard Co., 903 F. Supp.
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 1 2d 843, 858 (N.D. Cal. 2012) (dismissing the unfair prong of the UCL claim because
 2 plaintiff only “makes conclusory statements that HP’s alleged conduct is unfair.”).
 3            On this additional basis, Plaintiff’s UCL claims require dismissal.
 4                  iv.    Plaintiff’s FAL and CLRA Claims Are Time-Barred.
 5            Plaintiff’s FAL and CLRA claims are subject to dismissal based on their three
 6 year statute of limitations period. Cal. Code of Civ. Proc. § 338(a); Plumlee v. Pfizer,
 7 Inc., 2014 WL 695024, at *7 (N.D. Cal. Feb. 21, 2014). Plaintiff filed her Complaint
 8 on November 9, 2023, more than three years after her alleged purchase of the Product
 9 during the “time period of August of 2018 to December of 2019.” Compl. ¶ 38. Plaintiff
10 also alleges that “around December of 2019,” Plaintiff first learned of the “Products
11 contain more than 0g but less than 0.5g of trans fat,” again past the three year statute of
12 limitations. Id. Nor has Plaintiff pled any facts to support the application of the
13 continuing violation doctrine or delayed discovery rule. See Marshall v. PH Beauty
14 Labs, Inc., 2015 WL 3407906, at *2 (C.D. Cal. May 27, 2015) (holding that plaintiff’s
15 FAL claims are time-barred based on plaintiff’s vague allegations that did not support
16 applying the continuing violation doctrine); see also Beasley v. Conagra Brands, Inc.,
17 374 F. Supp. 3d 869, 882 (N.D. Cal. 2019) (finding, where plaintiff “allege[d] no facts
18 regarding the manner” of discovery, “his statements that he could not have made his
19 discovery sooner are nothing more than conclusory”). On this basis alone, Plaintiff’s
20 FAL and CLRA claims must be dismissed.
21            Plaintiff also failed to comply with the 30-day written notice requirement
22 mandated by the CLRA, and the Court should dismiss all damages claims arising from
23 her CLRA claim. See Munning v. Gap, Inc., 2016 WL 6393550, at *4 (N.D. Cal. Oct.
24 28, 2016) (dismissing claim for failure to fully comply with CLRA notice provisions).
25 A “claim for damages under the CLRA requires strict compliance with the notice
26 requirements set forth in [California Civil Code] § 1782.” Laster v. T-Mobile USA, Inc.,
27 407 F. Supp. 2d 1181, 1196 (S.D. Cal. 2005) (emphasis in original) (dismissing CLRA
28 claim for damages with prejudice). Plaintiff has not, and cannot, allege that she has met
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 1 these notice requirements. See generally Compl.
 2                  v.    Plaintiff’s Unjust Enrichment Claim Fails for Several Reasons.
 3            Plaintiff’s claim for “unjust enrichment/breach of quasi contract” should be
 4 dismissed because it, too, rests on the same implausible and non-actionable theory as
 5 the rest of the Complaint. See Rojas-Lozano v. Google, Inc., 159 F. Supp. 3d 1101, 1120
 6 (N.D. Cal. 2016) (“when a plaintiff fails to sufficiently plead an actionable
 7 misrepresentation or omission, [her] restitution claim must be dismissed.”). As
 8 discussed in Section V.B(i), supra, Plaintiff fails to adequately allege that the labels are
 9 likely to deceive a reasonable consumer. Consequently, she has not plausibly alleged
10 an actionable misrepresentation, and her unjust enrichment/quasi-contract claim fails.
11            Moreover, “in California, there is not a standalone cause of action for unjust
12 enrichment, which is synonymous with restitution.” Astiana v. Hain Celestial Grp.,
13 Inc., 783 F.3d 753, 762 (9th Cir. 2015); see also Smith Micro Software, Inc. v. Reliance
14 Commc‘ns, LLC, 2020 WL 225074, at *4 (C.D. Cal. Jan. 14, 2020) (“California law
15 does not permit a standalone cause of action for unjust enrichment,” instead, unjust
16 enrichment is a remedy).
17            Plaintiff also cannot state a claim for unjust enrichment/quasi-contract because
18 she asserts a separate claim for breach of an express warranty and, “under California
19 law ‘there cannot be a claim based on quasi contract where there exists between the
20 parties a valid express contract covering the same subject matter.”’ Smith v. Allmax
21 Nutrition, Inc., 2015 WL 9434768, at *9 (E.D. Cal. Dec. 24, 2015) (dismissing unjust
22 enrichment/quasi-contract claim premised upon alleged label misrepresentation).
23 Plaintiff also does not allege, let alone plausibly, that she lacks an adequate remedy at
24 law, which is a prerequisite to equitable relief. Milman v. FCA U.S., LLC, 2018 WL
25 5867481, at *15-16 (C.D. Cal. Aug. 30, 2018).
26            Plaintiff’s claim for unjust enrichment must be dismissed without leave to amend.
27
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 1                  vi.   Plaintiff’s Allegations Do Not Support Her Claims for
 2                        Fraudulent and Negligent Misrepresentation.
 3            Plaintiff’s fraudulent misrepresentation claim must satisfy the heightened
 4 pleading requirements of Federal Rule 9(b) 4 , which requires Plaintiff to “state with
 5 particularity the circumstances constituting fraud.” Kearns v. Ford Motor Co., 567 F.3d
 6 1120, 1125-27 (9th Cir. 2009). “To satisfy Rule 9(b), a pleading must identify the who,
 7 when, what, where, and how of the misconduct charged, as well as what is false or
 8 misleading about the [purportedly fraudulent] statement, and why it is false.” Cafasso,
 9 U.S. ex rel. v. Gen. Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 (9th Cir. 2011).
10            Here, Plaintiff fails to comply with Rule 9(b)’s heightened standard because she
11 fails to provide the basic details of her alleged purchase, or any facts supporting an
12 actual misrepresentation. Broken down, Plaintiff fails to allege when exactly she
13 purchased the challenged products or how and why she relied on the allegedly deceptive
14 “0g Trans Fat” statement as part of her purchasing decision. Plaintiff alleges only that
15 “[s]ince August of 2018, she saw the label of Sapporo Ichiban Miso Ramen sold in
16 grocery stores in Los Angeles, California, including Mitsuwa Marketplace.” Compl. ¶
17 15. Plaintiff then vaguely alleges, multiple paragraphs later, that “[d]uring the time
18 period from August of 2018 to December of 2019, Plaintiff purchased Sapporo Ichiban
19 Miso Ramen.” Id., ¶ 38. Plaintiff fails to allege where she bought the Product, and she
20 fails to connect how “[seeing] the label” since August of 2018 in grocery stores relates
21 to her alleged purchase over the vast time period of 16 months. Indeed, it is unclear
22 even whether Plaintiff bought the Product once or multiple times based on the vague
23 and inconsistent allegations. Compare with id. ¶ 2 (“From August 2018 to December
24 2019, Plaintiff bought the noodle products from convenient stores and grocery markets
25
     4
26   Additionally, as Plaintiff’s UCL, FAL, and CLRA claims are grounded in fraud, they
   are subject to the same heightened pleading requirements of Rule 9(b) and fail for the
27
   reasons discussed herein. See Kearns v. Ford Motor Co., 567 F.3d 1120, 1124 (9th
28 Cir. 2009).
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 1 in Los Angeles, California.”).
 2            Plaintiff also alleges that “around December of 2019,” she purportedly “first
 3 learned” that the Products “contain more than 0g but less than 0.5g of trans fat.” Id., ¶
 4 38. Strikingly absent from the Complaint is how she came to “learn” of this. 5 In
 5 addition to admitting that she has not tested the Products, Plaintiff fails to allege any
 6 detail whatsoever when she read or came upon the sources cited to in her Complaint.
 7 See id., ¶¶ 33-35. Plaintiff has failed to plead facts to support any finding of an
 8 actionable misrepresentation.
 9            Finally, Plaintiff’s negligent misrepresentation claim fails because the economic
10 loss doctrine acts as a bar to claims for negligence — including negligent
11 misrepresentation — where a plaintiff’s damages are purely economic. See, e.g., Kalitta
12 Air, L.L.C. v. Cent. Texas Airborne Sys., Inc., 315 Fed. Appx. 603, 605 (9th Cir. 2008)
13 (“In the absence of (1) personal injury, (2) physical damage to property, (3) a ‘special
14 relationship’ existing between the parties, or (4) some other common law exception to
15 the rule, recovery of purely economic loss is foreclosed.”); Michael v. Honest Co. Inc.,
16 2016 WL 8902574, at *23-24 (C.D. Cal. Dec. 6, 2016) (dismissing plaintiffs’ negligent
17 misrepresentation claim stemming from a misleading product label based on purely
18 economic losses).
19            Plaintiff’s claims for fraudulent and negligent misrepresentation must be
20 dismissed.
21                  vii.   Plaintiff’s Breach of Express and Implied Warranties Fail.
22            To state a claim for breach of express warranty under California law, a plaintiff
23 must allege a breach of warranty which proximately caused the plaintiff’s injury.
24
     5
     Plaintiff also alleges vaguely that “[i]n November 2022, Plaintiff learned for the first
25
   time that Defendant SANYO knew and should have known by the laboratory tests that
26 the SAPPORO ICHIBAN Products of SANYO contain Trans Fat above 0g per
   serving.” Id., ¶ 23. It is unclear what tests Plaintiff is referencing, nor is this alleged
27
   discovery years after her purchase in 2019 (and more than 13 months after her State
28 Action was initiated) relevant.
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 1 Williams v. Beechnut Nutrition Corp., 185 Cal. App. 3d 135, 142 (Ct. App. 1986);
 2 Mauro v. Gen. Motors Corp., 2008 WL 2775004, at *8 (E.D. Cal. July 15, 2008).
 3            Here, Plaintiff argues because the Products allegedly do not contain “0g Trans
 4 Fat,” this express warranty was breached. As discussed in Section V.A, supra, Plaintiff
 5 provides no facts or evidence, other than her unsupported belief and unreasonable
 6 interpretation, that the Products were not in conformance with the alleged
 7 warranty. Rather, the Products fully comply with federal labeling requirements and
 8 otherwise accurately describe the amount of trans fat in the Products. Plaintiff failed to
 9 plead facts sufficient to support a breach of warranty, requiring dismissal. See McKinnis
10 v. Kellogg USA, 2007 WL 4766060, at *5 (C.D. Cal. Sept. 19, 2007) (dismissing breach
11 of warranty claim because a “cursory glance at the nutrition information printed on the
12 box” confirms that labeling is “entirely accurate”).
13            Plaintiff’s claim for breach of implied warranty also fails. To sustain this claim,
14 a product must be defective or not fit for the ordinary purpose for which the product is
15 used. Hauter v. Zogarts, 14 Cal. 3d 104, 117-18 (1975). The implied warranty “does
16 not impose a general requirement that goods precisely fulfill the expectation of the
17 buyer.” Stearns, 2009 WL 1635931, at *8. “[T]here must be a fundamental defect that
18 renders the product unfit for its ordinary purpose.” Id. Here, Plaintiff does not (and
19 cannot) plausibly allege that the Products were unfit for its ordinary purpose of human
20 consumption because FDA expressly permitted its sale as such. See Backus v. Gen.
21 Mills, Inc., 122 F. Supp. 3d 909, 932-33 (N.D. Cal. 2015).
22            Moreover, California requires that a plaintiff alleging a breach of implied
23 warranty claim be in vertical privity with the defendant. Clemens v. DaimlerChrysler
24 Corp., 534 F. 3d 1017, 1023 (9th Cir. 2008) (a consumer who buys from a retailer is
25 not in privity with the defendant manufacturer). Plaintiff does not allege, nor could she,
26 that she is in vertical privity with Defendants. Accordingly, this claim fails against
27 Defendants for this independent reason.
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 1            C.    The Products Do Not Require a Disclosure, and To the Extent Plaintiff
 2                  Is Attempting To Expand Labeling Requirements, Her Claims Are
 3                  Pre-Empted.
 4            Plaintiff argues that the Products violate 21 CFR § 101.13(h) by not including a
 5 disclosure statement. See Compl. ¶ 93. However, a reading of the statute reveals that
 6 the law permits truthful and not misleading quantitative claims (such as “0g trans fat”)
 7 and exempts such claims from requiring a disclosure. See 21 CFR § 101.13(i)(3) (“the
 8 label or labeling of a product may contain a statement about the amount or percentage
 9 of a nutrient if… [t]he statement does not in any way implicitly characterize the level
10 of the nutrient in the food and it is not false or misleading in any respect (e.g., ‘100
11 calories’ or ‘5 grams of fat’), in which case no disclaimer is required.”) (emphases
12 added).
13            Moreover, the Federal Food, Drug, and Cosmetic Act (FDCA), 21 U.S.C. §§
14 301–399, details the federal provisions prohibiting “misbranding” of food and grants
15 the FDA exclusive authority to ensure that “foods are . . . properly labeled” on behalf
16 of all consumers. Id. §§ 331(b), 393(b)(2)(A). Although “citizens may petition the FDA
17 to take administrative action,” ultimately it is the FDA that is “responsible for
18 investigating potential violations of the FDCA.” Perez v. Nidek Co., 711 F.3d 1109,
19 1119 (9th Cir. 2013). Accordingly, to the extent that Plaintiff is “implicitly attempting
20 to expand the labeling regulations to cover statements like the ones here, this would
21 impose non-identical requirements, and therefore the claim would be preempted.”
22 Effinger v. Ancient Organics LLC, 657 F. Supp. 3d 1290, 1299 (N.D. Cal. 2023) (“even
23 if the Product did include nutrient content claims, thus requiring the label to include
24 “mandatory disclosure statements,” see 21 C.F.R. § 101.13(h), Plaintiffs would be
25 preempted from bringing suit on that basis.”). As the FDCA impliedly preempts state
26 law claim that “originates from, is governed by, and terminates according to federal
27 law,” Plaintiff’s claim must be dismissed. Chong v. Kind LLC, 585 F. Supp. 3d 1215,
28 1220 (N.D. Cal. 2022).
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 1            D.    Plaintiff Has Wrongfully Named Takeo Sato as a Defendant in the
 2                  Complaint, Requiring His Dismissal.
 3            Plaintiff has failed to plead any allegations identifying specific acts of Defendant
 4 Takeo Sato that support an independent basis for liability against him, requiring his
 5 dismissal from the matter. See O’Connor v. Uber Techs., Inc., 2013 WL 6354534, at
 6 *18 (N.D. Cal. Dec. 5, 2013) (dismissing UCL claim against corporate officers where
 7 plaintiffs failed to allege that directors “‘actively and directly participate[d] in [any]
 8 unfair business practice[s],’” because “California law does not impose liability on
 9 corporate officers merely for their role in the corporation, but only for wrongful acts in
10 which they have been personally involved”).
11            Plaintiff’s only stated basis for Mr. Sato’s inclusion in the complaint as a named
12 defendant is to say that “Defendant Sato is the General Manager of Sanyo” and
13 conclude that he “is held personally liable for Defendant SANYO’s violation of strict
14 liability provision” of the FDCA. Compl. ¶ 16. Plaintiff’s Complaint is devoid of any
15 alleged facts regarding acts Defendant Takeo Sato either personally committed, or that
16 were committed by way of his personal direction. In fact, there are no facts alleged to
17 show how Defendant Takeo Sato was otherwise sufficiently responsible for the alleged
18 conduct at issue. He must be dismissed from this action, with prejudice.
19            E.    This Action Should Be Dismissed or Stayed Under the Colorado River
20                  Doctrine to Further the Interests of Wise Judicial Administration.
21                  i.     The Colorado River Doctrine Applies.
22            “Under the Colorado River doctrine, a federal court may abstain from exercising
23 its jurisdiction in favor of parallel state proceedings where doing so would serve the
24 interests of ‘wise judicial administration.’” Krieger v. Atheros Commc’ns, Inc., 776 F.
25 Supp. 2d 1053, 1057 (N.D. Cal. 2011) (quoting Colorado River Water Conservation
26 Dist. v. United States, 424 U.S. 800, 818 (1976)).
27            “As a threshold matter to the Colorado River test, the Court must determine
28 whether the federal and state actions are sufficiently ‘parallel’ -- i.e. whether
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 1 substantially the same parties are contemporaneously litigating the same issues in
 2 different forums.” In re Countrywide Fin. Corp. Derivative Litig., 542 F. Supp. 2d 1160,
 3 1170 (C.D. Cal. 2008).
 4            Here, it is beyond doubt that resolving the State Action will substantially resolve
 5 this litigation because both actions cover the same alleged conduct by Defendant over
 6 the same Products at issue. Compare ECF 1, Compl. with RJN, Ex. B. More specifically,
 7 Plaintiff alleges the exact same violations of UCL, FAL, and CLRA (first through fourth
 8 causes of action) and seeks the same remedies. See Melt Franchising, LLC v. PMI
 9 Enterprises, Inc., 2008 WL 4811097, at *2 (C.D. Cal. Oct. 27, 2008) (even where claims
10 are not completely overlapping, actions may be deemed “substantially similar” such
11 that “the state court litigation provides an adequate vehicle for resolution of . . . claims”).
12                  ii.    The Colorado River Factors Support Dismissal or A Stay.
13            Once determined that the matters are sufficiently parallel, there are eight factors
14 in deciding whether to dismiss or stay an action, including: (1) whether the state court
15 first assumed jurisdiction over any property at stake; (2) inconvenience of the federal
16 forum; (3) desire to avoid piecemeal litigation; (4) order in which the forums obtained
17 jurisdiction; (5) whether federal or state law provides the rule of decision on the merits;
18 (6) whether the state court proceedings adequately protect the parties’ rights; (7) desire
19 to avoid forum shopping; and (8) whether the state court proceedings will resolve all
20 issues before the federal court. R.R. St. & Co., Inc. v. Transp. Ins. Co., 656 F.3d 966,
21 978-79 (9th Cir. 2011). Here, the relevant Colorado River factors weigh in favor of
22 dismissing or staying this action in deference to the State Action.
23            First, the threat of piecemeal litigation favors dismissal or a stay when “different
24 tribunals consider the same issue, thereby duplicating efforts and possibly reaching
25 different results.” Travelers Indem. Co. v. Madonna, 914 F.2d 1364, 1369 (9th Cir.
26 1990). Here, the duplication of efforts by this Court and the state court, coupled with
27 the risk of differing results to the relief Plaintiff seeks (e.g., public injunctive relief),
28 weighs strongly in favor of granting a dismissal or stay. See, e.g., Canopus Biopharma,
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 1 Inc. v. Supportive Therapeutics, LLC, 2016 WL 7438795, at *3 (C.D. Cal. Mar. 25,
 2 2016) (the desirability of avoiding piecemeal litigation factor “weighs heavily in favor
 3 of granting the stay because resolution of both the [state court] action and this case
 4 depend on a determination of the same questions”); Sea Prestigo, LLC v. M/Y Triton,
 5 787 F. Supp. 2d 1116, 1119 (S.D. Cal. 2011) (“staying the case would eliminate the
 6 possibility of the state and federal courts both deciding, and possibly reaching
 7 inconsistent conclusions”).
 8            Second, the State Action preceded this action by, and has been pending for, over
 9 16 months. See RJN, Ex. A. “It is settled that the court first assuming jurisdiction over
10 a matter ‘may exercise that jurisdiction to the exclusion of other courts.’” El Centro
11 Foods, Inc. v. Nazarian, 2010 WL 1710286, at *3 (C.D. Cal. Apr. 21, 2010). In addition,
12 where the first-filed action has made substantial progress, as is the case here with the
13 State Action, this factor also weighs heavily in favor of granting dismissal or a stay.
14 See, e.g., Am. Int'l Underwriters, Inc. v. Continental Ins. Co., 843 F.2d 1253, 1258 (9th
15 Cir. 1988) (state action had made substantive progress, including deciding several
16 motions, and the parties had conducted some discovery, in contrast to the federal action,
17 which had not yet progressed); Krieger, 776 F. Supp. 2d at 1062 (factors weighing in
18 favor of staying federal action included that state action was filed first and had
19 progressed by entering protective order and completion of an initial round of discovery).
20 Indeed, the court in the State Action has already resolved challenges to the pleadings
21 via Defendant’s demurrer and discovery is ongoing. RJN, Ex. A. Allowing Plaintiff’s
22 claims to go forward here will result in duplicative discovery in relation to the same
23 facts and issues, wasting the parties’ and judicial resources.
24            Third, the merits of the overlapping claims in both this action and the State Action
25 will be determined by the application of California law, not federal law, and this factor
26 supports dismissal or stay. See Canopus Biopharma, Inc., 2016 WL 7438795 at *4
27 (“Where state law issues predominate, ‘granting the stay is consistent with the federal
28 court's discretion to decline to exercise jurisdiction out of consideration for federal-state
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 1 comity.’”).
 2            Fourth, there is no doubt that the state court proceedings are sufficient to protect
 3 Plaintiff’s rights, since she is the named plaintiff and California law applies. See Am.
 4 Int'l Underwriters, 843 F.2d at 1258 (parallel state court proceedings adequate and
 5 weigh in favor of stay).
 6            Fifth, Defendants maintain there is a likelihood that the State Action proceedings
 7 will resolve a substantial amount of issues before this Court, including but not limited
 8 to the public injunctive relief that Plaintiff seeks. And for the reasons discussed herein,
 9 the remaining causes of action not included in the State Action (fifth through ninth
10 causes of action) must be dismissed based on numerous independent reasons. See
11 Sections V.B, supra.
12            The remaining factors - whether the state court first assumed jurisdiction over
13 property, the inconvenience of the federal forum, and whether exercising jurisdiction
14 would promote forum shopping - are irrelevant to the current situation and do not alter
15 the analysis. See, e.g., Travelers Indem. Co., 914 F.2d at 1371 (absent evidence of forum
16 shopping behavior, this factor is not relevant).
17            Plaintiff’s gamesmanship in filing the present action after being denied leave to
18 amend her complaint in the State Action should not be overlooked by this Court. With
19 all of the relevant factors weighing in favor of abstention, dismissing or staying this
20 case will conserve the resources of the parties, reduce the risk of piecemeal litigation,
21 and ensure “wise judicial administration” in accord with the Colorado River doctrine.
22 VI.        CONCLUSION
23            For the reasons set forth herein, Defendants respectfully request the Court dismiss
24 this action or, in the alternative, dismiss or stay this action under the Colorado River
25 doctrine in relation to the State Action.
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 1 Dated: January 22, 2024                    K&L GATES LLP
 2
 3
 4                                           By: /s/ Ashley Song
                                               Caitlin Blanche
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 6                                             Sanyo Foods Corporation of America;
                                               Takeo Sato
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 1                                L.R. 11-6.2 ATTESTATION
 2            The undersigned, counsel of record for Defendants Sanyo Foods Corporation of
 3 America and Takeo Sato, certifies that this brief contains 6,988 words, which complies
 4 with the word limit of L.R. 11-6.1.
 5
 6
     Dated: January 22, 2024                      /s/ Ashley Song
 7                                                Ashley Song
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